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JESSIE BENARD                   SUNRISE CREDIT SERVICE
5590 NAILOR RD                  260 AIRPORT PLAZA BLVD
VICKSBURG, MS 39180             FARMINGDALE, NY 11735



ROBERT REX MCRANEY JR           WEBBANK/FINGERHUT FRES
MCRANEY & MCRANEY               6250 RIDGEWOOD RD
503 SPRINGRIDGE ROAD            SAINT CLOUD, MN 56303
POST OFFICE DRAWER 1397
CLINTON, MS 39060
                           ** MS Dept of Revenue
AMERICAS SERVICING CO         P O Box 22808
P.O. BOX 10328
DES MOINES, IA 50306          Jackson, MS 39225



DELTA INDUSTRIES, INC.     **   MS Dept of Revenue
100 W WOODROW WILSON            c/o US Attorney
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8742 LUCENT BLVD
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